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PLAINTIFF’S CERTIFICATION

I, Harvey Blatt, on behalf of Dajalis Ltd., hereby state:

1. On behalf of Dajalis Ltd., I have reviewed a draft of a complaint against Morgan
Asset Management, Inc., Morgan Keegan & Company, Inc., Regions Financial Corporation, MK
Holding, Inc., Regions Financial Corporation, PricewaterhouseCoopers LLP, and certain
individuals, officers and directors associated with the above entities, and authorized the filing of
the same or a similar complaint on my behalf.

2. Dajalis Ltd. did not purchase shares of Regions Morgan Keegan Select
Intermediate Bond Fund or Regions Morgan Keegan Select High Income Fund at the direction of
counsel or in order to participate in this private action.

3. Dajalis Ltd. is willing to serve as a representative party on behalf of a class,
including providing testimony at deposition and trial, if necessary.

4, The following includes all of Dajalis Ltd.’s transactions in Regions Morgan
Keegan Select Intermediate Bond Fund (MKIBX, RIBCX, RIBIX) or Regions Morgan Keegan
Select High Income Fund (MKHIX, RHICX, RHIIX) during the Class Period (December 6, 2004
through October 3, 2007) as defined in the Complaint:

TRANSACTION TRADE DATE PRICE QUANTITY
(PURCHASE, SALE,
EXCHANGE, CALL,

PUT, ETC.)
Purchase—MKIBX 1/24/05 10.05 25,000.00
Purchase—MKIBX 7/13/06 9.850 9,924,744
Purchase-~MKHIX 4/18/07 9.77 6,653.019

5. Dajalis Ltd. has filed the following civil actions as a representative party on

behalf of a class under the federal securities laws during the last three years:

6. Dajalis Ltd. will not accept any payment for serving as a representative party on
behalf of a class except to receive my pro rata share of any recovery, or as ordered or approved
by the Court, including the award to a representative party of reasonable costs and expenses
including lost wages relating to the representation of the class.

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I declare under penalty of-perjury that the foregoing is true and correct.
Executed this 44 day of , 2008.

DAJALI$ LTD.

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